                  Case 1:19-cv-07122-LGS Document 12 Filed 09/13/19 Page 1 of 3
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      (List the full name(s) of the plaintiff(s)/petitioner(s).)                                                                   )(       )

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      (List the full name(s) of the defendant(s)/respondent(s) .)




      Notice is hereby given that the following parties:                     -V:fl Hf)                            H BIZADY
      (list the names of all parties who are filing an appeal)


      in the above-n~Illed case           appeal~to      the United States Court of Appe~ls for th/eSecond Circuit

      from the            ·, judgment          )(order             entered on:            <g I~ J                  d 0 {°!
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      ' Each party filing the appeal must date and sign the Notice of Appeal and provide his or her mailing address and telephon e
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      to the case. Fed. R. App . P. 3{c){2). Attach additional sheets of pap er as necessary.

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     (List the full name(s) of the plaintiff(s)/petitioner(s).)                              flcv]f dJ c                                               )(   )

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